B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                       Northern District of California                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Cardona, Saul R                                                                                              Cardona, Maria E


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA Saul Rios Cardona; AKA Saul Gilberto Cardona; AKA                                                        AKA Maria Elena Cardona; AKA Mariaelena Puente
  Saul G Cardona Rios; DBA Heart of the Valley Produce                                                         Cardona; AKA Maria E Puente Lara


Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-0871                                                                                                  xxx-xx-7657
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  224 Borzini Cir.                                                                                            224 Borzini Cir.
  Greenfield, CA                                                                                              Greenfield, CA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         93927                                                                                         93927
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Monterey                                                                                                     Monterey
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  PO BOX 1724                                                                                                 PO BOX 1724
  Greenfield, CA                                                                                              Greenfield, CA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         93927                                                                                         93927
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case: 13-53082                          Doc# 1           Filed: 06/05/13                     Entered: 06/05/13 12:46:08                              Page 1 of 51
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Cardona, Saul R
(This page must be completed and filed in every case)                                  Cardona, Maria E
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Jason Vogelpohl                                      June 4, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Jason Vogelpohl 252407

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case: 13-53082                 Doc# 1            Filed: 06/05/13          Entered: 06/05/13 12:46:08                             Page 2 of 51
B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Cardona, Saul R
(This page must be completed and filed in every case)                                       Cardona, Maria E
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Saul R Cardona                                                                   X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Saul R Cardona

 X    /s/ Maria E Cardona                                                                      Printed Name of Foreign Representative
     Signature of Joint Debtor Maria E Cardona
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 4, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Jason Vogelpohl
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Jason Vogelpohl 252407                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Central Coast Bankruptcy, Inc.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      532 Pajaro Street
      Salinas, CA 93901                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                Email: jason@centralcoastbankruptcy.com
      831-783-0260 Fax: 831-783-0232
     Telephone Number
     June 4, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case: 13-53082                   Doc# 1          Filed: 06/05/13              Entered: 06/05/13 12:46:08                         Page 3 of 51
B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                       Case No.
                                                                             Debtor(s)           Chapter     11




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

             1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

            2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

           3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                Page 2



           4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                   Active military duty in a military combat zone.

          5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Saul R Cardona
                                                                                Saul R Cardona
                                                  Date:          June 4, 2013




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                       Case No.
                                                                             Debtor(s)           Chapter     11




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

             1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

            2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

           3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                 Page 2



           4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                   Active military duty in a military combat zone.

          5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Maria E Cardona
                                                                                Maria E Cardona
                                                  Date:          June 4, 2013




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B4 (Official Form 4) (12/07)
                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                                  Case No.
                                                                             Debtor(s)                      Chapter       11


                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                     Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
           accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
           persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
           the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
           If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
           address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
           name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                   (1)                                             (2)                            (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                  subject to setoff
Aes/Suntrust Bank                         Aes/Suntrust Bank                              Educational                                     8,587.00
Po Box 2461                               Po Box 2461
Harrisburg, PA 17105                      Harrisburg, PA 17105
Asset Acceptance LLC                      Asset Acceptance LLC                           FactoringCompany                                1,549.00
Po Box 1630                               Po Box 1630                                    Account Apx Alarm
Warren, MI 48090                          Warren, MI 48090
Credit Consulting Service                 Credit Consulting Service                      Collection Salinas                              440.00
Po Box 5879                               Po Box 5879                                    Valley Memorial
Salinas, CA 93915                         Salinas, CA 93915                              Hosp.
Credit Consulting Service                 Credit Consulting Service                      MedicalDebt Mee                                 155.00
Po Box 5879                               Po Box 5879                                    Memorial Clinic
Salinas, CA 93915                         Salinas, CA 93915
Credit Consulting Service                 Credit Consulting Service                      MedicalDebt                                     115.00
Po Box 5879                               Po Box 5879                                    Salinas Valley
Salinas, CA 93915                         Salinas, CA 93915                              Radiologists In
Enhanced Recovery                         Enhanced Recovery                              Collection At T                                 515.00
8014 Bayberry Rd                          8014 Bayberry Rd
Jacksonville, FL 32256                    Jacksonville, FL 32256
Fenton & Keller                           Fenton & Keller                                40052 Walnut Ave.                               349,785.75
PO BOX 791                                PO BOX 791                                     Greenfield, CA                                  (150,000.00
Monterey, CA 93942-0791                   Monterey, CA 93942-0791                        93927                                           secured)
                                                                                         (Retain)                                        (690.00 senior
                                                                                                                                         lien)
                                                                                         Value per Zillow
                                                                                         and personal
                                                                                         knowledge
Ffcc-Columbus                             Ffcc-Columbus                                  Medical                                         327.00
Po Box 20790                              Po Box 20790
Columbus, OH 43220                        Columbus, OH 43220
Monterey County Health                    Monterey County Health Department              Account Balance                                 1,872.75
Department                                Environmental Health Bureau
Environmental Health                      1270 Natividad Rd.
Bureau                                    Soledad, CA 93960
1270 Natividad Rd.
Soledad, CA 93960


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B4 (Official Form 4) (12/07) - Cont.
           Saul R Cardona
In re      Maria E Cardona                                                                          Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                             (3)                     (4)                    (5)

Name of creditor and complete             Name, telephone number and complete             Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of         debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor      government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted        etc.)                    disputed, or           security]
                                                                                                                   subject to setoff
Pinnacle Financial Group                  Pinnacle Financial Group                        Collection At T                                 425.72
7825 Washington Ave S St                  7825 Washington Ave S St
Minneapolis, MN 55439                     Minneapolis, MN 55439
Rash Curtis & Associates                  Rash Curtis & Associates                        Collection Mee                                  237.00
190 S Orchard Ave Ste A2                  190 S Orchard Ave Ste A2                        Memorial Hospital
Vacaville, CA 95688                       Vacaville, CA 95688
Rash Curtis & Associates                  Rash Curtis & Associates                        Collection Mee                                  162.00
190 S Orchard Ave Ste A2                  190 S Orchard Ave Ste A2                        Memorial Hospital
Vacaville, CA 95688                       Vacaville, CA 95688
Rash Curtis & Associates                  Rash Curtis & Associates                        Collection Mee                                  122.00
190 S Orchard Ave Ste A2                  190 S Orchard Ave Ste A2                        Memorial Clinic
Vacaville, CA 95688                       Vacaville, CA 95688
Rash Curtis & Associates                  Rash Curtis & Associates                        Collection Mee                                  84.00
190 S Orchard Ave Ste A2                  190 S Orchard Ave Ste A2                        Memorial Hospital
Vacaville, CA 95688                       Vacaville, CA 95688                             Rc
Rash Curtis & Associates                  Rash Curtis & Associates                        Collection Mee                                  723.00
190 S Orchard Ave Ste A2                  190 S Orchard Ave Ste A2                        Memorial Hospital
Vacaville, CA 95688                       Vacaville, CA 95688
Seterus Inc.                              Seterus Inc.                                    219 Alves Lane                                  178,701.00
14523 Sw Millikan Suite 200               14523 Sw Millikan Suite 200                     Greenfield, CA
Beaverton, OR 97005                       Beaverton, OR 97005                             93927                                           (157,170.00
                                                                                          (Retain)                                        secured)

                                                                                          Value per eppraisal
                                                                                          and personal
                                                                                          knowledge
Specialized Loan Servicing,               Specialized Loan Servicing, LLC                 Second Mortgage                                 39,328.85
LLC                                       8742 Lucent Blvd. Suite 300                     Foreclosed
8742 Lucent Blvd. Suite 300               Littleton, CO 80129                             property
Littleton, CO 80129
Tate & Kirlin Associates                  Tate & Kirlin Associates                        Account Balance                                 1,511.64
c/o APX Alarm/Vivint, Inc.                c/o APX Alarm/Vivint, Inc.
2810 Southampton Rd.                      2810 Southampton Rd.
Philadelphia, PA 19154                    Philadelphia, PA 19154
Wells Fargo Home Mortgage                 Wells Fargo Home Mortgage                       224 Borzini Cir.                                227,595.00
4101 Wiseman Blvd # Mc-T                  4101 Wiseman Blvd # Mc-T                        Greenfield, CA
San Antonio, TX 78251                     San Antonio, TX 78251                           93927                                           (199,089.00
                                                                                          (Retain)                                        secured)

                                                                                          Value per eppraisal
                                                                                          and personal
                                                                                          knowledge




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B4 (Official Form 4) (12/07) - Cont.
           Saul R Cardona
In re      Maria E Cardona                                                                            Case No.
                                                         Debtor(s)

                         LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                         (Continuation Sheet)

                   (1)                                             (2)                               (3)                     (4)                   (5)

Name of creditor and complete             Name, telephone number and complete               Nature of claim (trade   Indicate if claim is   Amount of claim
mailing address including zip             mailing address, including zip code, of           debt, bank loan,         contingent,            [if secured, also
code                                      employee, agent, or department of creditor        government contract,     unliquidated,          state value of
                                          familiar with claim who may be contacted          etc.)                    disputed, or           security]
                                                                                                                     subject to setoff
Williams, Babbit & Weisman,               Williams, Babbit & Weisman, Inc.      Account Balance                                             6,689.21
Inc.                                      c/o Jams/Endispute
c/o Jams/Endispute                        5255 North Federal Highway, 3rd Floor
5255 North Federal Highway,               Boca Raton, FL 33487
3rd Floor
Boca Raton, FL 33487
                                       DECLARATION UNDER PENALTY OF PERJURY
                                     ON BEHALF OF A CORPORATION OR PARTNERSHIP
                   We, Saul R Cardona and Maria E Cardona, the debtors in this case, declare under penalty of perjury that
           we have read the foregoing list and that it is true and correct to the best of our information and belief.


Date June 4, 2013                                                      Signature   /s/ Saul R Cardona
                                                                                   Saul R Cardona
                                                                                   Debtor


Date June 4, 2013                                                      Signature   /s/ Maria E Cardona
                                                                                   Maria E Cardona
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                Northern District of California
 In re          Saul R Cardona,                                                                           Case No.
                Maria E Cardona
                                                                                                    ,
                                                                                   Debtors                Chapter                        11




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                LIABILITIES                  OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                  748,053.00


B - Personal Property                                     Yes             4                   27,467.85


C - Property Claimed as Exempt                            Yes             2


D - Creditors Holding Secured Claims                      Yes             2                                         964,008.75


E - Creditors Holding Unsecured                           Yes             2                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             5                                          63,088.80
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       8,989.21
    Debtor(s)

J - Current Expenditures of Individual                    Yes             3                                                                       8,586.14
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                22


                                                                    Total Assets             775,520.85


                                                                                     Total Liabilities           1,027,097.55




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                Northern District of California
 In re           Saul R Cardona,                                                                                     Case No.
                 Maria E Cardona
                                                                                                          ,
                                                                                       Debtors                       Chapter                  11


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                  0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                           0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                            TOTAL                                 0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        8,989.21

             Average Expenses (from Schedule J, Line 18)                                                      8,586.14

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         9,439.10


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                   250,512.75

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                  0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                          0.00

             4. Total from Schedule F                                                                                                63,088.80

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          313,601.55




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 In re        Saul R Cardona,                                                                               Case No.
              Maria E Cardona
                                                                                                ,
                                                                             Debtors
                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                   Nature of Debtor's           Wife,     Debtor's Interest in              Amount of
              Description and Location of Property                 Interest in Property         Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

224 Borzini Cir.                                                   Fee Simple                       C                  199,089.00                227,595.00
Greenfield, CA 93927
(Retain)

Value per eppraisal and personal knowledge

219 Alves Lane                                                     Fee Simple                       C                  157,170.00                178,701.00
Greenfield, CA 93927
(Retain)

Value per eppraisal and personal knowledge

40052 Walnut Ave.                                                  Fee Simple                       C                  150,000.00                350,475.75
Greenfield, CA 93927
(Retain)

Value per Zillow and personal knowledge

320 Village Parkway                                                Fee Simple                       C                  120,676.00                105,279.00
Crowley, TX 76036
(Retain)

Value per Zillow and personal knowledge

324 Village Parkway                                                Fee Simple                       C                  121,118.00                101,958.00
Crowley, TX 76036
(Retain)

Value per Zillow and personal knowledge




                                                                                                 Sub-Total >           748,053.00          (Total of this page)

                                                                                                        Total >        748,053.00
 0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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 In re         Saul R Cardona,                                                                                   Case No.
               Maria E Cardona
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Wells Fargo - Checking                                            C                       1,289.60
      accounts, certificates of deposit, or               Acc# 3201
      shares in banks, savings and loan,
      thrift, building and loan, and                      Wells Fargo - Savings                                             C                       1,959.71
      homestead associations, or credit                   Acc# 5295
      unions, brokerage houses, or
      cooperatives.                                       Bank of America - Checking                                        C                       2,994.51
                                                          Acc# 6532

                                                          Bank of America - Savings                                         C                         555.40
                                                          Acc# 4580

                                                          Chase - Checking                                                  C                         434.23
                                                          Acc# 3224

                                                          Chase - Checking                                                  C                         476.40
                                                          Acc# 9518

                                                          Golden1- Checking                                                 C                       1,308.00
                                                          Acc# 2484

                                                          CD accounts - Rabobank                                            C                       6,000.00

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household Goods And Furnishings                                   C                       1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                          C                         300.00



                                                                                                                            Sub-Total >          16,317.85
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




 In re         Saul R Cardona,                                                                                   Case No.
               Maria E Cardona
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

7.    Furs and jewelry.                                   Jewelry                                                           C                         500.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term Life Insurance - UFCW(no value)                              C                           0.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Pension - UFCW (no value)                                         C                           0.00
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   Business - Heart of the Valley Produce (no value)                 C                           0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                            Sub-Total >             500.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Saul R Cardona,                                                                                   Case No.
               Maria E Cardona
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    1995 Fod Mustang                                                  C                       1,200.00
    other vehicles and accessories.                       Mileage 245,000

                                                          Value per personal Knowledge

                                                          1995 Ford F150                                                    C                         950.00
                                                          Mileage 250,000

                                                          Value per personal Knowledge

                                                          1995 Chevrolet Suburban                                           C                       2,000.00
                                                          Mileage 175,000

                                                          Value per personal Knowledge




                                                                                                                            Sub-Total >           4,150.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re         Saul R Cardona,                                                                       Case No.
               Maria E Cardona
                                                                                         ,
                                                                         Debtors
                                          SCHEDULE B - PERSONAL PROPERTY
                                                               (Continuation Sheet)

                                            N                                                               Husband,        Current Value of
              Type of Property              O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                                Joint, or   without Deducting any
                                            E                                                              Community Secured Claim or Exemption
                                                2001 Honda Accord                                                C                          0.00
                                                Mileage 275,000
                                                Mr. Cardona's names is on the title of the vehicle,
                                                but it belongs to their daughter.
                                                Value $1,900.00
                                                Value per personal Knowledge

                                                1999 International Truck                                         C                      2,500.00
                                                Mileage 225,000

                                                Value per personal knowledge

                                                2004 VW Beetle                                                   C                          0.00
                                                Mileage 270,000
                                                Value $3,500.00
                                                Mr. and Mrs. Cardona's names are on the title of the
                                                vehicle, but it belongs to their daughter. Debtors
                                                did not pay any money towards the purchase of this
                                                vehicle.
                                                Value per knowledge

26. Boats, motors, and accessories.         X

27. Aircraft and accessories.               X

28. Office equipment, furnishings, and      X
    supplies.

29. Machinery, fixtures, equipment, and         1970 John Deer Tractor, international tractor,                   C                      4,000.00
    supplies used in business.                  liliston, and a cultivating bar.

30. Inventory.                              X

31. Animals.                                X

32. Crops - growing or harvested. Give      X
    particulars.

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind     X
    not already listed. Itemize.




                                                                                                                Sub-Total >           6,500.00
                                                                                                    (Total of this page)
                                                                                                                     Total >         27,467.85
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                            (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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  In re         Saul R Cardona,                                                                                         Case No.
                Maria E Cardona
                                                                                                            ,
                                                                                        Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                          Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Wells Fargo - Checking                            C.C.P. § 703.140(b)(5)                                                              1,289.60                         1,289.60
Acc# 3201

Wells Fargo - Savings                                                     C.C.P. § 703.140(b)(5)                                      1,959.71                         1,959.71
Acc# 5295

Bank of America - Checking                                                C.C.P. § 703.140(b)(5)                                      2,994.51                         2,994.51
Acc# 6532

Bank of America - Savings                                                 C.C.P. § 703.140(b)(5)                                        555.40                           555.40
Acc# 4580

Chase - Checking                                                          C.C.P. § 703.140(b)(5)                                        434.23                           434.23
Acc# 3224

Chase - Checking                                                          C.C.P. § 703.140(b)(5)                                        476.40                           476.40
Acc# 9518

Golden1- Checking                                                         C.C.P. § 703.140(b)(5)                                      1,308.00                         1,308.00
Acc# 2484

CD accounts - Rabobank                                                    C.C.P. § 703.140(b)(5)                                      6,000.00                         6,000.00

Household Goods and Furnishings
Household Goods And Furnishings                                           C.C.P. § 703.140(b)(3)                                      1,000.00                         1,000.00

Wearing Apparel
Clothing                                                                  C.C.P. § 703.140(b)(3)                                        300.00                           300.00

Furs and Jewelry
Jewelry                                                                   C.C.P. § 703.140(b)(4)                                        500.00                           500.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Pension - UFCW (no value)                           C.C.P. § 703.140(b)(10)(E)                                                              0.00                             0.00

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Fod Mustang                                                          C.C.P. § 703.140(b)(5)                                      1,200.00                         1,200.00
Mileage 245,000

Value per personal Knowledge

1995 Ford F150                                                            C.C.P. § 703.140(b)(5)                                        950.00                           950.00
Mileage 250,000

Value per personal Knowledge

1995 Chevrolet Suburban                                                   C.C.P. § 703.140(b)(5)                                      2,000.00                         2,000.00
Mileage 175,000

Value per personal Knowledge

    1     continuation sheets attached to Schedule of Property Claimed as Exempt
              Case: 13-53082                  Doc# 1           Filed: 06/05/13
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 B6C (Official Form 6C) (4/13) -- Cont.




  In re         Saul R Cardona,                                                                             Case No.
                Maria E Cardona
                                                                                                        ,
                                                                                         Debtors
                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing           Value of            Current Value of
                  Description of Property                                          Each Exemption               Claimed             Property Without
                                                                                                               Exemption          Deducting Exemption

1999 International Truck                                                  C.C.P. § 703.140(b)(2)                       2,500.00               2,500.00
Mileage 225,000

Value per personal knowledge

Machinery, Fixtures, Equipment and Supplies Used in Business
1970 John Deer Tractor, international tractor,   C.C.P. § 703.140(b)(6)                                                2,200.00               4,000.00
liliston, and a cultivating bar.                 C.C.P. § 703.140(b)(5)                                                1,800.00




                                                                                                  Total:           27,467.85                 27,467.85
 Sheet     1    of     1    continuation sheets attached to the Schedule of Property Claimed as Exempt
               Case: 13-53082                 Doc# 1           Filed: 06/05/13
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                                                                                                                                    Best Case Bankruptcy
 B6D (Official Form 6D) (12/07)


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  In re         Saul R Cardona,                                                                                           Case No.
                Maria E Cardona
                                                                                                            ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H       DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxx8816                                         Opened 3/05/07 Last Active 8/17/12                           E
                                                              Mortgage                                                     D

Bank Of America, N.A.                                         320 Village Parkway
450 American St                                               Crowley, TX 76036
                                                              (Retain)
Simi Valley, CA 93065
                                                            W Value per Zillow and personal
                                                              knowledge
                                                                Value $                             120,676.00                          105,279.00                        0.00
Account No. xxxxx4961                                         Opened 3/05/07 Last Active 8/17/12
                                                              Mortgage
Bank Of America, N.A.                                         324 Village Parkway
450 American St                                               Crowley, TX 76036
                                                              (Retain)
Simi Valley, CA 93065
                                                            W Value per Zillow and personal
                                                              knowledge
                                                                Value $                             121,118.00                          101,958.00                        0.00
Account No. xxxxx-x9664                                         Lien
                                                                40052 Walnut Ave.
Fenton & Keller                                                 Greenfield, CA 93927
PO BOX 791                                                      (Retain)
Monterey, CA 93942-0791
                                                            C Value per Zillow and personal
                                                              knowledge
                                                                Value $                             150,000.00                          349,785.75               200,475.75
Account No. xxxxxxx2261

Loius White                                                      Representing:
Professional Law Corporation                                     Fenton & Keller                                                       Notice Only
1851 Heritage Lane, Suite 148
Sacramento, CA 95815

                                                                Value $
                                                                                                                   Subtotal
 1
_____ continuation sheets attached                                                                                                      557,022.75               200,475.75
                                                                                                         (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Saul R Cardona,                                                                                          Case No.
                Maria E Cardona
                                                                                                            ,
                                                                                             Debtors

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                            O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                            T    I   P       WITHOUT         UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                     I    Q   U
                                                                                                                                     DEDUCTING
                                                        T   J                                                        N    U   T                          ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                          G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                     N    A
                                                                                                                     T    T
Account No. xxx-xxx-xx6-000                                     Property Taxes                                            E
                                                                                                                          D
                                                                40052 Walnut Ave.
Monterey County Tax Collector                                   Greenfield, CA 93927
PO Box 891                                                      (Retain)
Salinas, CA 93902-0891
                                                            C Value per Zillow and personal
                                                              knowledge
                                                                Value $                             150,000.00                            690.00                 0.00
Account No. xxxx9306                                          Opened 12/22/06 Last Active 9/01/12
                                                              Mortgage
Seterus Inc.                                                  219 Alves Lane
14523 Sw Millikan Suite 200                                   Greenfield, CA 93927
                                                              (Retain)
Beaverton, OR 97005
                                                            W Value per eppraisal and personal
                                                              knowledge
                                                                Value $                             157,170.00                        178,701.00           21,531.00
Account No. xxxxxxxxx1139                                     Opened 10/24/07 Last Active 8/01/12
                                                              Mortgage
Wells Fargo Home Mortgage                                     224 Borzini Cir.
4101 Wiseman Blvd # Mc-T                                      Greenfield, CA 93927
                                                              (Retain)
San Antonio, TX 78251
                                                            W Value per eppraisal and personal
                                                              knowledge
                                                                Value $                             199,089.00                        227,595.00           28,506.00
Account No.




                                                                Value $
Account No.




                                                                Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal
                                                                                                                                      406,986.00           50,037.00
Schedule of Creditors Holding Secured Claims                                                             (Total of this page)
                                                                                                                     Total            964,008.75         250,512.75
                                                                                           (Report on Summary of Schedules)
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B6E (Official Form 6E) (4/13)


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 In re         Saul R Cardona,                                                                                                    Case No.
               Maria E Cardona
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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  In re         Saul R Cardona,                                                                                          Case No.
                Maria E Cardona
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                     NOTICE ONLY                                               E
                                                                                                                          D

Internal Revenue Service
PO Box 21126 N781                                                                                                                                    0.00
Philadelphia, PA 19144
                                                            C

                                                                                                                                             0.00                 0.00
Account No.                                                     NOTICE ONLY

State of California
Franchise Tax Board                                                                                                                                  0.00
PO BOX 942867
                                                            C
Sacramento, CA 94267-0011

                                                                                                                                             0.00                 0.00
Account No.




Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)                0.00                 0.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)                  0.00                 0.00
              Case: 13-53082                  Doc# 1            Filed: 06/05/13
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  In re         Saul R Cardona,                                                                                          Case No.
                Maria E Cardona
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxxx0001                                                 Opened 9/13/04 Last Active 4/01/12                            T   T
                                                                                                                                                E
                                                                              Educational                                                       D

Aes/Suntrust Bank
Po Box 2461                                                               H
Harrisburg, PA 17105

                                                                                                                                                                      8,587.00
Account No. xxxxx3591                                                         Opened 6/30/12 Last Active 9/01/12
                                                                              FactoringCompanyAccount Apx Alarm
Asset Acceptance LLC
Po Box 1630                                                               W
Warren, MI 48090

                                                                                                                                                                      1,549.00
Account No. xxxxxxxxx0969                                                   Opened 10/01/05 Last Active 8/18/08
                                                                            RealEstateSpecificTypeUnknown Foreclosed
Chase                                                                       Property
Po Box 24696                                                              C NOTICE ONLY
Columbus, OH 43224-0696

                                                                                                                                                                            0.00
Account No. xxx3654                                                           Opened 3/29/10 Last Active 7/01/09
                                                                              Collection Salinas Valley Memorial Hosp.
Credit Consulting Service
Po Box 5879                                                               H
Salinas, CA 93915

                                                                                                                                                                         440.00

                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                   10,576.00
                                                                                                                              (Total of this page)




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  In re         Saul R Cardona,                                                                                    Case No.
                Maria E Cardona
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx5157                                                           Opened 4/01/07 Last Active 8/01/06                      E
                                                                              MedicalDebt Mee Memorial Clinic                         D

Credit Consulting Service
Po Box 5879                                                               H
Salinas, CA 93915

                                                                                                                                                         155.00
Account No. xxx2862                                                           Opened 10/01/09 Last Active 7/01/09
                                                                              MedicalDebt Salinas Valley Radiologists In
Credit Consulting Service
Po Box 5879                                                               H
Salinas, CA 93915

                                                                                                                                                         115.00
Account No. xxx5806                                                           Opened 12/01/07 Last Active 11/01/11
                                                                              MedicalDebt George L Mee Memorial Hospital
Credit Consulting Service
Po Box 5879                                                               C
Salinas, CA 93915

                                                                                                                                                          75.00
Account No. xxx7726                                                           Opened 4/01/07 Last Active 10/01/11
                                                                              MedicalDebt Mee Memorial Clinic
Credit Consulting Service
Po Box 5879                                                               C
Salinas, CA 93915

                                                                                                                                                          42.00
Account No. xxx7744                                                           Opened 4/01/07 Last Active 11/01/11
                                                                              MedicalDebt Mee Memorial Clinic
Credit Consulting Service
Po Box 5879                                                               C
Salinas, CA 93915

                                                                                                                                                            2.00

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                         389.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Saul R Cardona,                                                                                    Case No.
                Maria E Cardona
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxx2480                                                         Opened 6/12/12 Last Active 5/01/12                      E
                                                                              Collection Green Mountain Energy Co                     D

Credit Systems
1277 Country Club Ln                                                      W
Fort Worth, TX 76112

                                                                                                                                                          49.00
Account No. xxxx6162                                                          Opened 3/21/11
                                                                              Collection At T
Enhanced Recovery
8014 Bayberry Rd                                                          W
Jacksonville, FL 32256

                                                                                                                                                         515.00
Account No. xxx0383                                                           Opened 6/01/08 Last Active 8/01/12
                                                                              Medical
Ffcc-Columbus
Po Box 20790                                                              W
Columbus, OH 43220

                                                                                                                                                         327.00
Account No. xxxx# xxxxx-x9664                                                 12/2003
                                                                              Law Suit
Guadalupe Puente and Angelina                                                 NOTICE ONLY
Puente                                                                    C
PO BOX 1943
Greenfield, CA 93927
                                                                                                                                                            0.00
Account No. xxxxx6098                                                         11/2012
                                                                              Account Balance
Monterey County Health Department
Environmental Health Bureau                                               C
1270 Natividad Rd.
Soledad, CA 93960
                                                                                                                                                       1,872.75

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       2,763.75
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Saul R Cardona,                                                                                    Case No.
                Maria E Cardona
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx7940                                                      Opened 5/09/12 Last Active 8/01/12                      E
                                                                              Collection At T                                         D

Pinnacle Financial Group
7825 Washington Ave S St                                                  H
Minneapolis, MN 55439

                                                                                                                                                         425.72
Account No. xxxxxxxx7940                                                      10/2012
                                                                              Account Balance
Pinnacle Financial Group
7825 Washington Ave S St                                                  C
Minneapolis, MN 55439

                                                                                                                                                          76.63
Account No. xxxxxxxxxxxx7151                                                  Opened 11/02/11 Last Active 2/01/12
                                                                              Collection Mee Memorial Hospital
Rash Curtis & Associates
190 S Orchard Ave Ste A2                                                  W
Vacaville, CA 95688

                                                                                                                                                         723.00
Account No. xxxxxxxxxxxx7020                                                  Opened 11/02/11 Last Active 2/01/12
                                                                              Collection Mee Memorial Hospital
Rash Curtis & Associates
190 S Orchard Ave Ste A2                                                  H
Vacaville, CA 95688

                                                                                                                                                         237.00
Account No. xxxxxxxxxxxxx6889                                                 Opened 11/02/11 Last Active 2/01/12
                                                                              Collection Mee Memorial Hospital
Rash Curtis & Associates
190 S Orchard Ave Ste A2                                                  H
Vacaville, CA 95688

                                                                                                                                                         162.00

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                       1,624.35
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Saul R Cardona,                                                                                          Case No.
                Maria E Cardona
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxxxxxxx1941                                                  Opened 7/12/12 Last Active 8/01/12                             E
                                                                              Collection Mee Memorial Clinic                                 D

Rash Curtis & Associates
190 S Orchard Ave Ste A2                                                  H
Vacaville, CA 95688

                                                                                                                                                                122.00
Account No. xxxxxxxxxxxx1009                                                  Opened 3/21/12 Last Active 5/01/12
                                                                              Collection Mee Memorial Hospital Rc
Rash Curtis & Associates
190 S Orchard Ave Ste A2                                                  W
Vacaville, CA 95688

                                                                                                                                                                 84.00
Account No. xxxxxx8308                                                        5/2008
                                                                              Second Mortgage Foreclosed property
Specialized Loan Servicing, LLC
8742 Lucent Blvd. Suite 300                                               C
Littleton, CO 80129

                                                                                                                                                             39,328.85
Account No. xx6554                                                            9/5/2012
                                                                              Account Balance
Tate & Kirlin Associates
c/o APX Alarm/Vivint, Inc.                                                C
2810 Southampton Rd.
Philadelphia, PA 19154
                                                                                                                                                              1,511.64
Account No. xxxxxxx-x0120                                                     7/12/2011
                                                                              Account Balance
Williams, Babbit & Weisman, Inc.
c/o Jams/Endispute                                                        C
5255 North Federal Highway, 3rd Floor
Boca Raton, FL 33487
                                                                                                                                                              6,689.21

           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                             47,735.70
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)              63,088.80


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B6G (Official Form 6G) (12/07)


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 In re             Saul R Cardona,                                                                             Case No.
                   Maria E Cardona
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
                 Case: 13-53082              Doc# 1           Filed: 06/05/13
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B6H (Official Form 6H) (12/07)


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 In re          Saul R Cardona,                                                                         Case No.
                Maria E Cardona
                                                                                              ,
                                                                                Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                      NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
              Case: 13-53082                 Doc# 1           Filed: 06/05/13
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B6I (Official Form 6I) (12/07)
          Saul R Cardona
 In re    Maria E Cardona                                                                               Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         11
                                             Son                                                         16
                                             Daughter                                                    20
Employment:                                           DEBTOR                                                    SPOUSE
Occupation                          Assistant Produce Manager                                Care giver
Name of Employer                    Nob Hill Foods                                           IHSS Program
How long employed                   26 years                                                 4 years
Address of Employer                 1320 S. Main St.                                         1000 S. Main St. Suite 211C
                                    Salinas, CA 93901                                        Salinas, CA 93901
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                      SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $       3,297.10           $        714.78
2. Estimate monthly overtime                                                                           $           0.00           $          0.00

3. SUBTOTAL                                                                                              $         3,297.10       $          714.78


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             329.77     $          119.32
     b. Insurance                                                                                        $               0.00     $            0.00
     c. Union dues                                                                                       $               0.00     $            0.00
     d. Other (Specify):       SDI                                                                       $              32.98     $           15.60
                                                                                                         $               0.00     $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             362.75     $          134.92

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,934.35       $          579.86

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         1,000.00       $             0.00
8. Income from real property                                                                             $         4,475.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         5,475.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         8,409.35       $          579.86

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            8,989.21
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Mrs. Cardona works for the IHSS program only four months out of the year. The income listed is the monthly average
         based on her only working four months.


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B6J (Official Form 6J) (12/07)
          Saul R Cardona
 In re    Maria E Cardona                                                                     Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,386.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   120.00
                   b. Water and sewer                                                                       $                    88.00
                   c. Telephone                                                                             $                    60.00
                   d. Other See Detailed Expense Attachment                                                 $                   410.00
3. Home maintenance (repairs and upkeep)                                                                    $                    50.00
4. Food                                                                                                     $                   850.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    80.00
7. Medical and dental expenses                                                                              $                   300.00
8. Transportation (not including car payments)                                                              $                   330.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                    20.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    55.25
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   130.00
                   e. Other Crowley, TX 76036 properties insurance                                          $                   237.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other See Detailed Expense Attachment                                                 $                 3,947.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                   422.89
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 8,586.14
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 8,989.21
b. Average monthly expenses from Line 18 above                                                              $                 8,586.14
c. Monthly net income (a. minus b.)                                                                         $                   403.07




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B6J (Official Form 6J) (12/07)
          Saul R Cardona
 In re    Maria E Cardona                                                       Case No.
                                                            Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                              Detailed Expense Attachment
Other Utility Expenditures:
Cell Phones                                                                                 $               200.00
Cable                                                                                       $               130.00
Gartbage                                                                                    $                20.00
Internet                                                                                    $                60.00
Total Other Utility Expenditures                                                            $               410.00




Other Installment Payments:
Alves Ln. mortgage payment                                                                  $                845.00
320 Village Pkwy. mortgage payment                                                          $              1,159.00
32 Village Pkwy. mortgage payment                                                           $              1,097.00
Texas properties HOA Fees                                                                   $                130.00
Projected payment on Walnut                                                                 $                716.00
Total Other Installment Payments                                                            $              3,947.00




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         Saul R Cardona
 In re   Maria E Cardona                                                 Case No.
                                                      Debtor(s)



               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                Attachment A



Business Income and Expenses



Monthly Business Income             $1,000.00



Business Expenses:

Utilities                                 -$76.89

Transplanting                             -$170.00

Taxes                                     -$126.00

Diesel                                    -$50.00

________________________________________________

Total Business Expenses                   -$422.89



Business Net Income                 $577.11




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                               Northern District of California
            Saul R Cardona
 In re      Maria E Cardona                                                                              Case No.
                                                                                   Debtor(s)             Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      24
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 4, 2013                                                     Signature   /s/ Saul R Cardona
                                                                                   Saul R Cardona
                                                                                   Debtor


 Date June 4, 2013                                                     Signature   /s/ Maria E Cardona
                                                                                   Maria E Cardona
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                               Northern District of California
             Saul R Cardona
 In re       Maria E Cardona                                                                                   Case No.
                                                                                Debtor(s)                      Chapter        11

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $17,853.65                        2013YTD Husband Income - Nob Hill Foods
                          $47,336.80                        2012 Husband Income - Nob Hill Foods
                          $4,568.13                         2011 Husband Income - Nob Hill Foods
                          $4,108.95                         2013YTD Wife Income - State of California IHHS
                          $5,322.20                         2012 Wife Income - State of California IHHS
                          $15,952.87                        2011 Wife Income - State of California IHHS




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B7 (Official Form 7) (04/13)
2
              2. Income other than from employment or operation of business

      None    State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $26,850.00                          2013YTD Rental Income
                        $32,570.00                          2012 Rental Income
                        $31,265.00                          2011 Rental Income
                        $2,250.00                           2013YTD Farm Income
                        $1,714.00                           2012 Farm Income
                        $8,149.00                           2011 Farm Income

              3. Payments to creditors

      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
              a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
              not filed.)

NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
   OF CREDITOR                                                         PAYMENTS                              AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                       DATES OF                                    PAID OR
                                                                       PAYMENTS/                                 VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                       AMOUNT PAID                 OWING




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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             4. Suits and administrative proceedings, executions, garnishments and attachments

   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
Guadalupe Puente and Angelina Puente                                   Civil             Superior Court of California, County of        Judgment
v.                                                                                       Monterey
Saul Cardona and Maria Cardona                                                           1200 Aguajito Road
Case# 32620-29664                                                                        Monterey, CA 93940

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                         DATE OF           DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                   ORDER                   PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                      DATE OF GIFT           VALUE OF GIFT




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             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYER IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY
Central Coast Bankruptcy, Inc.                                         9/12/2012                                    Filing Fee = $1,213.00
532 Pajaro Street                                                      10/10/2012                                   Credit Counseling = $60.00
Salinas, CA 93901                                                      12/7/2012                                    Credit Report = $72.00
                                                                       4/29/2013                                    Attorney's Fees = $1,849.50
                                                                                                                    Retainer held in trust =
                                                                                                                    $16,805.50

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                          AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                   AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                         OR CLOSING




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             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY
380 Tuscany Way.                                                       Saul R Cardona                                 2006 through 2009
Greenfield, CA 93927                                                   Saul Rios Cardona
                                                                       Saul Gilberto Cardona
                                                                       Saul G Cardona Rios
                                                                       Maria E Cardona
                                                                       Maria Elena Cardona
                                                                       Mariaelena Puente Cardona

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
             operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

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   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Heart of the Valley             7657                             40052 Walnut Ave.              Produce                          2004 through Present
Produce                                                          Greenfield, CA 93927

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




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             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION



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             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date June 4, 2013                                                      Signature   /s/ Saul R Cardona
                                                                                   Saul R Cardona
                                                                                   Debtor


Date June 4, 2013                                                      Signature   /s/ Maria E Cardona
                                                                                   Maria E Cardona
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                            Case No.
                                                                             Debtor(s)                Chapter    11

                                               STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.         The undersigned is the attorney for the debtor(s) in this case.

2.         The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
            a)      For legal services rendered or to be rendered in contemplation of and in
                    connection with this case                                                                    $                18,655.00
            b)      Prior to the filing of this statement, debtor(s) have paid                                   $                 1,849.50
            c)      The unpaid balance due and payable is                                                        $                16,805.50

3.         $ 1,213.00          of the filing fee in this case has been paid.

4.         The Services rendered or to be rendered include the following:
           a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                  whether to file a petition under title 11 of the United States Code.

5.         The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation
           for services performed, and

6.         The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
           will be from earnings, wages and compensation for services performed, and

7.         The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
           for the value stated:

8.         The undersigned has not shared or agreed to share with any other entity, other than with members of
           undersigned's law firm, any compensation paid or to be paid except as follows:

Dated: June 4, 2013                                                         Respectfully submitted,

                                                                            /s/ Jason Vogelpohl
                                                                            Attorney for Debtor: Jason Vogelpohl 252407
                                                                            Central Coast Bankruptcy, Inc.
                                                                            532 Pajaro Street
                                                                            Salinas, CA 93901
                                                                            831-783-0260 Fax: 831-783-0232
                                                                            jason@centralcoastbankruptcy.com




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                                                 UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                                 Case No.
                                                                                 Debtor(s)                 Chapter        11

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Saul R Cardona
Maria E Cardona                                                                    X /s/ Saul R Cardona                        June 4, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                       Date

Case No. (if known)                                                                X /s/ Maria E Cardona                       June 4, 2013
                                                                                     Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                               Northern District of California
           Saul R Cardona
 In re     Maria E Cardona                                                                              Case No.
                                                                                  Debtor(s)             Chapter    11




                                                     CREDITOR MATRIX COVER SHEET



         I declare that the attached Creditor Mailing Matrix, consisting of 3 sheets, contains the correct, complete and current
names and addresses of all priority, secured and unsecured creditors listed in debtor's filing and that this matrix conforms with the
Clerk's promulgated requirements.




Date: June 4, 2013                                                     /s/ Jason Vogelpohl
                                                                       Signature of Attorney
                                                                       Jason Vogelpohl 252407
                                                                       Central Coast Bankruptcy, Inc.
                                                                       532 Pajaro Street
                                                                       Salinas, CA 93901
                                                                       831-783-0260 Fax: 831-783-0232




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     Aes/Suntrust Bank
     Po Box 2461
     Harrisburg, PA 17105



     Asset Acceptance LLC
     Po Box 1630
     Warren, MI 48090



     Bank Of America, N.A.
     450 American St
     Simi Valley, CA 93065



     Chase
     Po Box 24696
     Columbus, OH 43224-0696



     Credit Consulting Service
     Po Box 5879
     Salinas, CA 93915



     Credit Systems
     1277 Country Club Ln
     Fort Worth, TX 76112



     Enhanced Recovery
     8014 Bayberry Rd
     Jacksonville, FL 32256



     Fenton & Keller
     PO BOX 791
     Monterey, CA 93942-0791




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 Ffcc-Columbus
 Po Box 20790
 Columbus, OH 43220



 Guadalupe Puente and Angelina Puente
 PO BOX 1943
 Greenfield, CA 93927



 Internal Revenue Service
 PO Box 21126 N781
 Philadelphia, PA 19144



 Loius White
 Professional Law Corporation
 1851 Heritage Lane, Suite 148
 Sacramento, CA 95815



 Monterey County Health Department
 Environmental Health Bureau
 1270 Natividad Rd.
 Soledad, CA 93960



 Monterey County Tax Collector
 PO Box 891
 Salinas, CA 93902-0891



 Pinnacle Financial Group
 7825 Washington Ave S St
 Minneapolis, MN 55439



 Rash Curtis & Associates
 190 S Orchard Ave Ste A2
 Vacaville, CA 95688




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 Seterus Inc.
 14523 Sw Millikan Suite 200
 Beaverton, OR 97005



 Specialized Loan Servicing, LLC
 8742 Lucent Blvd. Suite 300
 Littleton, CO 80129



 State of California
 Franchise Tax Board
 PO BOX 942867
 Sacramento, CA 94267-0011



 Tate & Kirlin Associates
 c/o APX Alarm/Vivint, Inc.
 2810 Southampton Rd.
 Philadelphia, PA 19154



 Wells Fargo Home Mortgage
 4101 Wiseman Blvd # Mc-T
 San Antonio, TX 78251



 Williams, Babbit & Weisman, Inc.
 c/o Jams/Endispute
 5255 North Federal Highway, 3rd Floor
 Boca Raton, FL 33487




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